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1                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN
2

3    DEREK MORTLAND,                                )       CASE NO.: _____________________
                                                    )
4                   Plaintiff,                      )       JUDGE ________________________
                                                    )
5
            vs.                                     )       COMPLAINT FOR INJUNCTIVE
6                                                   )       RELIEF AND DAMAGES:
                                                    )
7    MM HOSPITALITY LLC,                            )       1ST CAUSE OF ACTION: For Denial of
                                                    )       Access by a Public Accommodation in
8
                    Defendant.                      )       Violation of the Americans with Disability
9                                                   )       Act of 1990 (“Title III” and “ADA”),
                                                    )       42 U.S.C. §§ 12181 et seq.
10                                                  )
                                                    )       2ND CAUSE OF ACTION: For Denial of
11
                                                    )       Access by a Public Accommodation in
12                                                  )       Violation of Michigan Persons with
                                                    )       Disabilities Civil Rights Act M.C. L.
13                                                  )       37.1301, et seq.
14

15          Plaintiff DEREK MORTLAND Complains of Defendant MM HOSPITALITY LLC, and

16   alleges as follows:
17
     INTRODUCTION:
18
            1.      This is a civil rights action for discrimination against persons with physical
19
     disabilities, of which plaintiff is a member of, for failure to remove architectural barriers
20

21   structural in nature at Defendant’s property, a place of public accommodation, thereby

22   discriminatorily denying plaintiff access to, the full and equal enjoyment of, opportunity to
23
     participate in, and benefit from, the goods, facilities, services, and accommodations thereof.
24
     Plaintiff seeks injunctive relief and damages pursuant to the Americans with Disability Act of
25
     1990 (“title III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and the Michigan Persons with
26

27   Disabilities Civil Rights Act M.C.L 37.1301, et seq.

28          2.      Plaintiff DEREK MORTLAND is a person with physical disabilities who, on or
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 1
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1    about May 22, 2020 to May 23, 2020, was an invitee, guest, patron, or customer at Defendant’s
2
     property, which houses the HAMPTON INN SOUTH HAVEN hotel, located at 04299 Cecilia
3
     Dr., South Haven, MI 49090. At said time and place, Defendant failed to provide proper legal
4
     access to the property, which is a public accommodation and/or public facility. The denial of
5

6    access was in violation of both federal and Michigan legal requirements, and MORTLAND

7    suffered violations of his civil rights to full and equal access and was embarrassed and
8
     humiliated.
9
     JURISDICTION AND VENUE:
10
             3.      Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.
11

12   §1331 for violations of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

13   Pursuant to pendant jurisdiction, attendant and related causes of action, arising from the same
14
     nucleus of operative facts and arising out of the same transactions, are also brought under
15
     parallel Michigan law, whose goals are closely tied with the ADA, including but not limited to
16
     violations of the Michigan Persons with Disabilities Civil Rights Act M.C.L 37.1301, et seq.
17

18           4.      Venue: Venue is proper in this court pursuant to 28 U.S.C. §1391(b) and is

19   founded on the facts that the real property which is the subject of this action is located in this
20
     district, in the City of South Haven, County of Van Buren, State of Michigan and that plaintiffs’
21
     causes of action arose in this district.
22
     PARTIES:
23

24           5.      Plaintiff DEREK MORTLAND is a “physically handicapped person,” a

25   “physically disabled person,” and a “person with physical disabilities.” (Hereinafter the terms
26
     “physically disabled,” “physically handicapped” and “person with physical disabilities” are used
27
     interchangeably, as these words have similar or identical common usage and legal meaning.)
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 2
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1    MORTLAND is a “person with physical disabilities,” as defined by all applicable Michigan and
2
     United States laws. MORTLAND requires the use of a wheelchair to travel about in public.
3
     Consequently, MORTLAND is a member of that portion of the public whose rights are protected
4
     by the Michigan Persons with Disabilities Civil Rights Act M.C.L 37.1301, et seq.
5

6           6. Defendant MM HOSPITALITY LLC, a Michigan limited liability company, is the

7    owner and operator, lessor and/or lessee, or agent of the owner, lessor and/or lessee, of the
8
     building and/or buildings which constitute a public facility in and of itself, occupied by the
9
     HAMPTON INN SOUTH HAVEN hotel, a public accommodation, located at/near 04299
10
     Cecilia Dr., South Haven, MI 49090, and subject to the requirements of Michigan state law
11

12   requiring full and equal access to public facilities pursuant to the Michigan Persons with

13   Disabilities Civil Rights Act M.C.L 37.1301, et seq., and subject to the Americans with
14
     Disability Act of 1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and to all other
15
     legal requirements referred to in this complaint.
16
            7. At all times relevant to this complaint, Defendant is the lessee, or agent of the
17

18   lessee, and/or lessor, of said premises, and owns and operates the subject HAMPTON INN

19   SOUTH HAVEN hotel as a public facility at/near 04299 Cecilia Dr., South Haven, MI 49090.
20
     The business, the HAMPTON INN SOUTH HAVEN hotel, is open to the general public and
21
     conducts business therein. The business operating on said premises is a public accommodation
22
     subject to the requirements of the Michigan Persons with Disabilities Civil Rights Act M.C.L
23

24   37.1301, et seq.

25          8. At all times relevant to this complaint, Defendant is the landlords/lessors,
26
     tenants/lessees and the owners and operators of the subject hotel, a public accommodation
27
     located at/near 04299 Cecilia Dr., South Haven, MI 49090. As such, Defendant is jointly and
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 3
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1    severally responsible to identify and remove architectural barriers pursuant to Code of Federal
2
     Regulations section 36.201(b), which states in pertinent part:
3
            § 36.201        General
4
                            (b) Landlord and tenant responsibilities. Both the landlord
5
                            who owns the building that houses a place of public
6                           accommodation and the tenant who owns or operates the place of
                            public accommodation are public accommodations subject to the
7                           requirements of this part. As between the parties, allocation of
                            responsibility for complying with the obligations of this part may
8
                            be determined by lease or other contract.
9
                            CFR §36.201(b)
10
            9. Plaintiff does not know the true names of Defendant, its business capacities, its
11

12   ownership connection to the property and business, nor their relative responsibilities in causing

13   the access violations herein complained of. Plaintiff is informed and believes that the Defendant
14
     herein is a public accommodation, and is the agent, ostensible agent, master, servant, employer,
15
     employee, representative, franchisor, franchisee, partner, and associate, or such similar capacity,
16
     of each of the other defendants, if any, and was at all times acting and performing, or failing to
17

18   act or perform, within the course and scope of his, her or its authority as agent, ostensible agent,

19   master, servant, employer, employee, representative, franchiser, franchisee, partner, and
20
     associate, or such similar capacity, and with the authorization, consent, permission or ratification
21
     of each of the other defendants, and is responsible in some manner for the acts and omissions of
22
     the other defendants in legally causing the violations and damages complained of herein, and
23

24   have approved or ratified each of the acts or omissions of each other defendant, as herein

25   described.
26
     PRELIMINARY FACTUAL ALLEGATIONS:
27
            10. Defendant is the entity that is a public accommodation that owns, leases (or
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 4
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1    leases to), or operates, the HAMPTON INN SOUTH HAVEN hotel, located at 04299 Cecilia
2
     Dr., South Haven, MI 49090. HAMPTON INN SOUTH HAVEN hotel and each of its facilities
3
     are places “of public accommodation” subject to the requirements of the Americans with
4
     Disability Act of 1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§ 12181 et seq., and the
5

6    Michigan Persons with Disabilities Civil Rights Act M.C.L 37.1301, et seq. On information and

7    belief, said facility has undergone “alterations, structural repairs and additions,” each of which
8
     has subjected the HAMPTON INN SOUTH HAVEN hotel to handicapped access requirements.
9
            11. Plaintiff DEREK MORTLAND is a person with a disability. MORTLAND is a
10
     “physically disabled person,” as defined by all applicable Michigan and United States laws.
11

12   MORTLAND is paralyzed because of a motorcycle accident and requires the use of a wheelchair

13   for mobility and to travel in public.
14
            12. At all times referred to herein and continuing to the present time, Defendant
15
     advertised, publicized and held out the HAMPTON INN SOUTH HAVEN hotel as being
16
     handicapped accessible and handicapped usable.
17

18          13. On or about May 22, 2020 to May 23, 2020, MORTLAND was an invitee and guest

19   at the subject HAMPTON INN SOUTH HAVEN hotel, arriving for purposes of obtaining
20
     lodging.
21
            14. Upon his arrival, during his patronizing of the public accommodation, and upon his
22
     exit of the facility, MORTLAND personally encountered architectural barriers which denied him
23

24   the full and equal access to the property.

25          15. Therefore, at said time and place, MORTLAND, who is a person with disabilities,
26
     encountered the following inaccessible elements of the subject HAMPTON INN SOUTH
27
     HAVEN hotel which constituted architectural barriers and a denial of the proper and legally
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 5
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1    required access to a public accommodation to persons with physical disabilities. By way of
2
     example and not as an exhaustive inventory of Defendant’s violations, the following barriers to
3
     access were personally encountered by plaintiffs:
4
        a. In the parking area, at the accessible parking south of the main entry, the access aisle is
5
           not located on an accessible route of travel to the accessible building entrance in violation
6          of 2010 ADAS Section: 208.3.1, 502.3 and 1991 ADAS Section: 4.6.3.

7       b. In the parking area, at the accessible parking north of the main entry, the access aisle is
           not located on an accessible route of travel to the accessible building entrance in violation
8
           of 2010 ADAS Section: 208.3.1, 502.3 and 1991 ADAS Section: 4.6.3.
9
        c. In the parking area, there is no accessible route of travel from the public way in violation
10         of 2010 ADAS Section: 206.2.1 and 1991 ADAS Section: 4.1.2(1).
11
        d. In the parking area, the parking sign is mounted too low south of the main building entry
12         in violation of 2010 ADAS Section: 502.6.

13      e. In the parking area, the leftmost parking sign is mounted too low north of the main
           building entry in violation of 2010 ADAS Section: 502.6.
14

15      f. In the parking area, the rightmost parking sign is mounted too low north of the main
           building entry in violation of 2010 ADAS Section: 502.6.
16
        g. In the parking area, the walkway contains abrupt vertical edges and/or variations over a
17
           1/4 inch in violation of 2010 ADAS Section: 303.3, 303.2 and 1991 ADAS Section:
18         4.5.2.

19      h. At the main entrance, all low energy power operated (Automatic) doors shall be marked
           with a sign, visible from both sides of the door, with the words "AUTOMATIC
20
           CAUTION DOOR" The sign shall be a minimum of 6 inches in diameter and with
21         minimum 5/8" tall black lettering on a yellow background in violation of 2010 ADAS
           Section: 404.3 and 1991 ADAS Section: 4.13.12.
22
        i. At the main entrance, there is no ISA at this entrance in violation of 2010 ADAS Section:
23
           216.6 and 1991 ADAS Section: 4.1.2(7)(c).
24
        j. At the main entrance, the landing at the sliding door exceeds 2% slope in violation of
25         2010 ADAS Section: 404.2.4.4.
26
        k. At the main entrance, the threshold has a vertical change greater than 1/4 inch high in
27         violation of 2010 ADAS Section: 404.2.5 and 1991 ADAS Section: 4.13.8.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 6
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1       l. At the main entrance, the building entrance is not located on an accessible route in
           violation of 2010 ADAS Section: 206.2.1 and 1991 ADAS Section: 4.1.2(1).
2

3       m. At the main entrance, there is no accessible route to the outdoor smoker's area across
           from the main entrance in violation of 2010 ADAS Section: 206.2.2 and 1991 ADAS
4          Section: 4.1.2(1).
5
        n. At the main entrance, the smoker's area across from the main entrance is not accessible
6          because there is not adequate clear floor space for an approach in violation of 2010
           ADAS Section: 305.3 and 1991 ADAS Section: 4.2.4.1.
7
        o. At other entrances, the south side building entrance doors are not located on an accessible
8
           route in violation of 2010 ADAS Section: 206.2.1 and 1991 ADAS Section: 4.1.2(1).
9
        p. At other entrances, the building entrance door just north of the main entry doors is not
10         located on an accessible route in violation of 010 ADAS Section: 206.2.1 and 1991
           ADAS Section: 4.1.2(1).
11

12      q. At other entrances, at least 60% of all public entrances must be accessible and on an
           accessible route to the public way in violation of 2010 ADAS Section: 206.4.1.
13
        r. In the men’s public restroom, there is not enough knee clearance under the drinking
14
           fountain by the public restrooms in violation of 2010 ADAS Section: 602.2 and 1991
15         ADAS Section: 4.15.5.

16      s. In the men’s public restroom, the rear grab bar does not extend adequately past the toilet
           on the wide side in violation of 2010 ADAS Section: 604.5.2 and 1991 ADAS Section:
17
           4.17.6.
18
        t. In the men’s public restroom, the rear grab bar is not a minimum 36 inches in length in
19         violation of 2010 ADAS Section: 604.5.2 and 1991 ADAS Section: 4.16.4.
20
        u. In the men’s public restroom, the side grab bar is not correctly spaced from the wall or
21         partition in violation of 2010 ADAS Section: 609.3 and 1991 ADAS Section: 4.26.2.

22      v. In the men’s public restroom, the toilet is not located within the range allowed from the
           side wall or partition in violation of 2010 ADAS Section: 604.2.
23

24      w. In the men’s public restroom, the flush handle is located on the wrong side of the toilet in
           violation of 2010 ADAS Section: 604.6.
25
        x. In the men’s public restroom, the coat hooks are installed greater than 48 inches above
26
           the finished floor in violation of 2010 ADAS Section: 308.2.1 and 1991 ADAS Section:
27         4.2.5.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 7
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1       y. In the men’s public restroom, the paper towel dispenser's operation mechanism is too
           high off the floor in violation of 2010 ADAS Section: 308.2.1.
2

3       z. In the men’s public restroom, the soap dispenser's operation mechanism is too high off
           the floor in violation of 2010 ADAS Section: 308.2.1.
4
        aa. In the men’s public restroom, the mirror is mounted too high in violation of 2010 ADAS
5
            Section: 603.3.
6
        bb. In the men’s public restroom, the top rim of the lavatory is too high in violation of 2010
7           ADAS Section: 606.3 and 1991 ADAS Section: 4.19.2.
8
        cc. In guest room #112, the drape wands are too high and out of the maximum reach range
9           for a side approach in violation of 2010 ADAS Section: 308.3.1.

10      dd. In guest room #112, the drape wands are not accessible because they require tight
            grasping, pinching or twisting of the wrist in violation of 2010 ADAS Section: 309.4 and
11
            1991 ADAS Section: 4.27.4.
12
        ee. In guest room #112, the required clear space on both sides of the bed has not been
13          provided in violation of 2010 ADAS Section: 806.2.3 and 1991 ADAS Section: 9.2.2(1).
14
        ff. In guest room #112, there is no accessible route to the nightstand, lamp and alarm clock
15          in violation of 2010 ADAS Section: 206.2.2 and 1991 ADAS Section: 4.1.3(1).

16      gg. In guest room #112, the required clear floor space is not wide enough at the nightstand,
            lamp and alarm clock in violation of 2010 ADAS Section: 305.3 and 1991 ADAS
17
            Section: 4.2.4.1.
18
        hh. In guest room #112, the top rim of the lavatory is too high in violation of 2010 ADAS
19          Section: 606.3 and 1991 ADAS Section: 4.19.2.
20
        ii. In guest room #112, the water and drain pipes under the lavatory are not adequately
21          insulated in violation of 2010 ADAS Section: 606.5 and 1991 ADAS Section: 4.19.4.

22      jj. In guest room #112, the mirror is mounted too high in violation of 2010 ADAS Section:
            603.3.
23

24      kk. In guest room #112, the clear floor space only allows for a forward approach and the
            wash cloths, towels and shelves are out of reach range in violation of 2010 ADAS
25          Section: 308.2.2 and 1991 ADAS Section: 4.2.5.
26
        ll. In guest room #112, the rear grab bar is obstructed by the shelving in violation of 2010
27          ADAS Section: 609.3.

28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 8
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1       mm.       IN guest room #112, the rear grab bar is not correctly spaced from the wall or
          partition in violation of 2010 ADAS Section: 609.3 and 1991 ADAS Section: 4.26.2.
2

3       nn. In guest room #112, the rear grab bar does not extend adequately past the toilet on the
            wide side in violation of 2010 ADAS Section: 604.5.2 and 1991 ADAS Section: 4.17.6.
4
        oo. In guest room #112, the side grab bar is not correctly spaced from the wall or partition in
5
            violation of 2010 ADAS Section: 609.3 and 1991 ADAS Section: 4.26.2.
6
        pp. In guest room #112, bathtubs must have a minimum 24 inch grab bar at the control end
7           33" - 36" to the top of the grab bar in violation of 2010 ADAS Section: 607.4.1.2 and
            1991 ADAS Section: 4.20.4.
8

9       qq. In guest room #112, the top grab bar is not located correctly in violation of 2010 ADAS
            Section: 607.4.1.1 and 1991 ADAS Section: 4.20.4.
10
        rr. In guest room #112, the bath tub seat height is not correct in violation of 2010 ADAS
11
            Section: 610.2.
12
        ss. In guest room #112, the shower chair provided for the shower does not fit the tub and
13          lacks firm, non-slip, rubber tips at the bottom of the legs. The plaintiff was not able to use
            the bathing facilities because of the extreme danger the shower chair provided in
14
            violation of 2010 ADAS Section: Advisory and 1991 ADAS Section: Advisory.
15
        tt. In guest room #112, the towel hooks are installed greater than 48 inches above the
16          finished floor in violation of 2010 ADAS Section: 308.2.1 and 1991 ADAS Section:
            4.2.5.
17

18      uu. In guest room #112, the maximum allowable reach cannot be obtained because the knee
            clearance is obstructed in violation of 2010 ADAS Section: 306.3.3 and 1991 ADAS
19          Section: 4.2.5.
20
        vv. In other guest rooms, there may be no accessible bathing or shower facilities in violation
21          of 2010 ADAS Section: 213.3.6 and 1991 ADAS Section: 4.1.3(1.

22      ww.       At the pool, at the time of the evaluation the lift had a protective cover on it and
           was not accessible without assistance in violation of 2010 ADAS Section: 242.2.
23

24      xx. At the pool, the spa does not contain a mechanism to assist persons with disabilities in
            gaining entry into the spa and in exiting from the spa in violation of 2010 ADAS Section:
25          242.4.
26
        yy. At the fitness center, the telephone is not accessible because there is not adequate clear
27          floor space for an approach in violation of 2010 ADAS Section: 305.3 and 1991 ADAS
            Section: 4.2.4.1.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 9
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1        zz. At the fitness center, there is no accessible route to the telephone in violation of 2010
             ADAS Section: 206.2.2 and 1991 ADAS Section: 4.1.3(1).
2

3        aaa.      At the fitness center, the water cooler is not accessible because there is not
            adequate clear floor space for an approach in violation of 2010 ADAS Section: 305.3 and
4           1991 ADAS Section: 4.2.4.1.
5
         bbb.     At the fitness center, there is no accessible route to the water cooler in violation of
6           2010 ADAS Section: 206.2.2 and 1991 ADAS Section: 4.1.3(1).

7        ccc.       At the fitness center, the coat hooks are too high and out of the maximum reach
             range for a side approach in violation of 2010 ADAS Section: 308.3.1. ‘
8

9        ddd.      In regards to a range of accommodations, accessible guest rooms may not be
            dispersed among the various classes of sleeping accommodations in violation of 2010
10          ADAS Section: 224.5 and 1991 ADAS Section: 9.1.4.
11
         eee.       In regards to reservations, the reservation system is in violation of 28 C.F.R.
12           Section 36.302(e). A reservation was made and confirmed for a mobility accessible roll-
             in shower room. Upon arrival the plaintiff learned that the room had given away to
13           another guest. The plaintiff was not able to bathe while a guest because of the dangers
             posed by bathtub and shower chair in the room provided.
14

15   On personal knowledge, information and belief, other public facilities and elements too

16   numerous to list were improperly inaccessible for use by persons with physical disabilities.
17
             16. At all times stated herein, the existence of architectural barriers at Defendant’s
18
     place of public accommodation evidenced “actual notice” of Defendant’s intent not to comply
19
     with the Americans with Disability Act of 1990 (“TITLE III” AND “ADA”), 42. U.S.C. §§
20

21   12181 et seq., and the Michigan Persons with Disabilities Civil Rights Act M.C.L 37.1301, et

22   seq., either then, now or in the future.
23
             17. As a legal result of Defendant’s failure to act as a reasonable and prudent public
24
     accommodation in identifying, removing or creating architectural barriers, policies, practices and
25
     procedures that denied access to plaintiff and other persons with disabilities, plaintiff suffered
26

27   damages as alleged herein.

28           18. As a further legal result of the actions and failure to act of Defendant, and as a
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 10
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1    legal result of the failure to provide proper handicapped-accessible public facilities as set forth
2
     herein, MORTLAND was denied his civil rights to full and equal access to public facilities.
3
     MORTLAND suffered a loss of his civil rights and his rights as a person with physical
4
     disabilities to full and equal access to public facilities, and further suffered from personal injury,
5

6    shame, humiliation, embarrassment, anger, chagrin, disappointment and worry, expectedly and

7    naturally associated with a person with physical disabilities being denied access, all to his
8
     damages as prayed hereinafter in an amount within the jurisdiction of this court.
9
             19. On information and belief, construction alterations carried out by Defendant have
10
     triggered access requirements under Americans with Disability Act of 1990 (“TITLE III” AND
11

12   “ADA”), 42. U.S.C. §§ 12181 et seq., and the Michigan Persons with Disabilities Civil Rights

13   Act M.C.L 37.1301, et seq.
14
             20. MORTLAND, as described herein below, seeks injunctive relief to require the
15
     HAMPTON INN SOUTH HAVEN hotel to be made accessible to meet the requirements of both
16
     Michigan law and the Americans with Disabilities Act, whichever is more restrictive, so long as
17

18   Defendant operates and/or leases the HAMPTON INN SOUTH HAVEN hotel as a public

19   facility. Plaintiff seeks damages for violation of his civil rights, from the date of his visit until
20
     such date as Defendant brings the establishment into full compliance with the requirements of
21
     Michigan and federal law.
22
             21. On information and belief, Defendant has been negligent in its affirmative duty
23

24   to identify the architectural barriers complained of herein and negligent in the removal of some

25   or all of said barriers.
26
             22. Because of Defendant’s violations, MORTLAND and other persons with physical
27
     disabilities are unable to use public facilities such as those owned and operated by Defendant on
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 11
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1    a “full and equal” basis unless such facility is in compliance with the provisions of the
2
     Americans with Disabilities Act and other accessibility law as plead herein. Plaintiff seeks an
3
     order from this court compelling Defendant to make the HAMPTON INN SOUTH HAVEN
4
     hotel accessible to persons with disabilities.
5

6            23. Plaintiff is informed and believes and therefore alleges that Defendant caused the

7    subject property to be constructed, altered and/or maintained in such a manner that persons with
8
     physical disabilities were denied full and equal access to, within and throughout said facility of
9
     the HAMPTON INN SOUTH HAVEN hotel and were denied full and equal use of said public
10
     facility. Further, on information and belief, Defendant has continued to maintain and operate said
11

12   facility in such conditions up to the present time, despite actual and constructive notice to such

13   Defendant that the configuration of the establishment and/or its building(s) are in violation of the
14
     civil rights of persons with physical disabilities, such as plaintiff and the disability community.
15
     Such construction, modification, ownership, operation, maintenance and practices of such public
16
     facilities are in violation of law as stated in Americans with Disability Act of 1990 (“TITLE III”
17

18   AND “ADA”), 42. U.S.C. §§ 12181 et seq. and elsewhere in the laws of Michigan.

19           24. On information and belief, the subject public facility of the HAMPTON INN
20
     SOUTH HAVEN hotel denied full and equal access to plaintiff and other persons with physical
21
     disabilities in other respects due to noncompliance with requirements of the Michigan Persons
22
     with Disabilities Civil Rights Act M.C.L 37.1301, et seq.
23

24           25. On personal knowledge, information and belief, the basis of Defendant’s actual

25   and constructive notice that the physical configuration of the facilities including, but not limited
26
     to, architectural barriers constituting the HAMPTON INN SOUTH HAVEN hotel was in
27
     violation of the civil rights of persons with physical disabilities, such as plaintiff, includes, but is
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 12
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1    not limited to, communications with invitees and guests, owners of other establishments and
2
     businesses, notices Defendant obtained from governmental agencies upon modification,
3
     improvement, or substantial repair of the subject premises and other properties owned by the
4
     Defendant, newspaper articles and trade publications regarding the Americans with Disabilities
5

6    Act and other access laws, public service announcements, and other similar information.

7    Defendant’s failure, under state and federal law, to make the establishment accessible is further
8
     evidence of Defendant’s conscious disregard for the rights of plaintiff and other similarly
9
     situated persons with disabilities. The scope and means of the knowledge of Defendant are
10
     within Defendant’s exclusive control and cannot be ascertained except through discovery.
11

12          26. Plaintiff will return to the subject HAMPTON INN SOUTH HAVEN hotel to

13   patronize the facility, if it is made fully accessible to a disabled person in a wheelchair, and to
14
     also avail himself of the hotel’s services.
15
            29.     Should the HAMPTON INN SOUTH HAVEN hotel become accessible,
16
     MORTLAND will visit it again because he frequently travels through Van Buren County,
17

18   Michigan.

19          30.     Furthermore, plaintiff intends to return to the HAMPTON INN SOUTH HAVEN
20
     hotel as an ADA tester on an annual basis beginning in 2020, to ascertain whether Defendant
21
     removed the barriers to access which are the subject of this litigation.
22
     I.     FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A PUBLIC
23
            ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
24          DISABILITIES ACT OF 1990 (42 U.S.C. §12101, et seq.)

25          31.     Plaintiff pleads and incorporates by reference, as if fully set forth again herein,
26
     the allegations contained in paragraphs 1 through 30 of this complaint.
27
            32.     Pursuant to law, in 1990, the United States Congress made findings per 42 U.S.C.
28
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1    §12101 regarding persons with physical disabilities, finding that laws were needed to more fully
2
     protect:
3
                    some 43 million Americans with one or more physical or mental
4                   disabilities; [that] historically society has tended to isolate and
                    segregate individuals with disabilities; [that] such forms of
5
                    discrimination against individuals with disabilities continue to be a
6                   serious and pervasive social problem; [that] the nation’s proper
                    goals regarding individuals with disabilities are to assure equality
7                   of opportunity, full participation, independent living and economic
                    self-sufficiency for such individuals; [and that] the continuing
8
                    existence of unfair and unnecessary discrimination and prejudice
9                   denies people with disabilities the opportunity to compete on an
                    equal basis and to pursue those opportunities for which our free
10                  society is justifiably famous.
11
        33. Congress stated as its purpose in passing the Americans with Disabilities Act of
12
     1990 (42 U.S.C. §12102):
13
                    It is the purpose of this act (1) to provide a clear and
14
                    comprehensive national mandate for the elimination of
15                  discrimination against individuals with disabilities; (2) to provide
                    clear, strong, consistent, enforceable standards addressing
16                  discrimination against individuals with disabilities; (3) to ensure
                    that the Federal government plays a central role in enforcing the
17
                    standards established in this act on behalf of individuals with
18                  disabilities; and (4) to invoke the sweep of Congressional
                    authority, including the power to enforce the 14th Amendment and
19                  to regulate commerce, in order to address the major areas of
                    discrimination faced day to day by people with disabilities.
20

21      34.         As part of the Americans with Disabilities Act of 1990, (hereinafter the “ADA”),

22   Congress passed “Title III - Public Accommodations and Services Operated by Private Entities”
23
     (Section 301 42 U.S.C. §12181, et seq.). Among the public accommodations identified for
24
     purposes of this title was:
25
                    (7) PUBLIC ACCOMMODATION - The following private
26
                    entities are considered public accommodations for purposes of this
27                  title, if the operations of such entities affect commerce -
                    ...
28                  (A) an inn, hotel, motel, or other place of lodging ***;
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 14
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1
                    42 U.S.C. §12181(7)(A).
2

3       35. Pursuant to §302, 42 U.S.C. §12182, “No individual shall be discriminated

4    against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
5
     privileges, advantages, or accommodations of any place of public accommodation by any person
6
     who owns, leases, or leases to, or operates a place of public accommodation.”
7
        36. The specific prohibitions against discrimination set forth in §302(b)(2)(a),
8

9    42 U.S.C. §12182(b)(2)(a) are:

10                  (i) the imposition or application of eligibility criteria
                    that screen out or tend to screen out an individual with a disability
11
                    or any class of individuals with disabilities from fully and equally
12                  enjoying any goods, services, facilities, privileges, advantages, or
                    accommodations, unless such criteria can be shown to be
13                  necessary for the provision of the goods, services, facilities,
                    privileges, advantages, or accommodations being offered;
14

15                  (ii) a failure to make reasonable modifications in
                    policies, practices, or procedures, when such modifications are
16                  necessary to afford such goods, services, facilities, privileges,
                    advantages or accommodations to individuals with disabilities,
17
                    unless the entity can demonstrate that making such modifications
18                  would fundamentally alter the nature of such goods, services,
                    facilities, privileges, advantages, or accommodations;
19
                    (iii) a failure to take such steps as may be necessary to
20
                    ensure that no individual with a disability is excluded, denied
21                  services, segregated or otherwise treated differently than other
                    individuals because of the absence of auxiliary aids and services,
22                  unless the entity can demonstrate that taking such steps would
                    fundamentally alter the nature of the good, service, facility,
23
                    privilege, advantage, or accommodation being offered or would
24                  result in an undue burden;

25                  (iv) a failure to remove architectural barriers, and
                    communication barriers that are structural in nature, in existing
26
                    facilities . . . where such removal is readily achievable; and
27
                    (v) where an entity can demonstrate that the removal of
28                  a barrier under clause (iv) is not readily achievable, a failure to
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 15
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1                    make such goods, services, facilities, privileges, advantages or
                     accommodations available through alternative methods if such
2
                     methods are readily achievable.
3
         37. The acts of Defendant set forth herein were a violation of plaintiff’s rights under the
4
     ADA, 42. U.S.C. §§ 12181 et seq., and the Michigan Persons with Disabilities Civil Rights Act
5

6    M.C.L 37.1301, et seq., making available damage remedies.

7        38. The removal of the barriers complained of by plaintiff as hereinabove alleged
8
     was at all times after January 26, 1992 “readily achievable” as to the subject HAMPTON INN
9
     SOUTH HAVEN hotel pursuant to 42 U.S.C. §12182 (b)(2)(A)(i)-(iv). On information and
10
     belief, if the removal of all the barriers complained of herein together was not “readily
11

12   achievable,” the removal of each individual barrier complained of herein was “readily

13   achievable.” On information and belief, Defendant’s failure to remove said barriers was likewise
14
     due to discriminatory practices, procedures and eligibility criteria, as defined by §302(b)(2)(a)(i)-
15
     (iii); 42 U.S.C. §12182 (b)(2)(A)(i).
16
         39. Per §301(9), 42 U.S.C. §12181 (9), the term “readily achievable” means “easily
17

18   accomplishable and able to be carried out without much difficulty or expense.” The statute

19   defines relative “expense” in part in relation to the total financial resources of the entities
20
     involved. Plaintiff alleges that properly repairing, modifying, or altering each of the items that
21
     plaintiff complains of herein were and are “readily achievable” by the Defendant under the
22
     standards set forth under §301(9) of the Americans with Disabilities Act. Further, if it was not
23

24   “readily achievable” for Defendant to remove each of such barriers, Defendant has failed to

25   make the required services available through alternative methods which were readily achievable.
26
         40. On information and belief, construction work on, and modifications of, the
27
     subject HAMPTON INN SOUTH HAVEN hotel occurred after the compliance date for the
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 16
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1    Americans with Disabilities Act, January 26, 1992, independently triggering access requirements
2
     under Title III of the ADA.
3
         41. Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12188, et
4
     seq., §308, plaintiff is entitled to the remedies and procedures set forth in §204(a) of the Civil
5

6    Rights Act of 1964, 42 U.S.C. 2000(a)-3(a), as plaintiff is being subjected to discrimination on

7    the basis of disability in violation of this title or has reasonable grounds for believing that he
8
     is about to be subjected to discrimination in violation of §302. Plaintiff cannot return to or make
9
     use of the public facilities complained of herein so long as the premises and Defendant’s policies
10
     bar full and equal use by persons with physical disabilities.
11

12       42. Per §308(a)(1) (42 U.S.C. 12188), “Nothing in this section shall require a person

13   with a disability to engage in a futile gesture if such person has actual notice that a person or
14
     organization covered by this title does not intend to comply with its provisions.” Pursuant to this
15
     last section, plaintiff has not returned to Defendant’s premises since on or about May 22, 2020 to
16
     May 23, 2020, but alleges that Defendant has continued to violate the law and deny the rights of
17

18   plaintiff and of other persons with physical disabilities to access this public accommodation.

19   Pursuant to §308(a)(2), “In cases of violations of §302(b)(2)(A)(iv) . . . injunctive relief shall
20
     include an order to alter facilities to make such facilities readily accessible to and usable by
21
     individuals with disabilities to the extent required by this title.”
22
         43. Plaintiff seeks relief pursuant to remedies set forth in §204(a) of the Civil Rights
23

24   Act of 1964 (42 U.S.C. 2000(a)-3(a)), and pursuant to federal regulations adopted to implement

25   the Americans with Disabilities Act of 1990, including but not limited to an order granting
26
     injunctive relief and attorneys’ fees. Plaintiff will seek attorneys’ fees conditioned upon being
27
     deemed to be the prevailing party.
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 17
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1          44. Plaintiff seeks damages pursuant to the Michigan Persons with Disabilities Civil Rights
2
     Act M.C.L 37.1301, et seq., which provide, within the statutory scheme, that a violation of the
3
     ADA and/or Michigan’s accessibility standards is a violation of Michigan law.
4
              Wherefore, plaintiff prays for relief and damages as hereinafter stated.
5

6    II.      SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND EQUAL ACCESS
              IN VIOLATION OF THE MICHIGAN PERSONS WITH DISABILITIES CIVIL
7             RIGHTS ACT M.C.L 37.1301, ET SEQ.
8
           45. Plaintiff repleads and incorporates by reference as if fully set forth again herein,
9
     the allegations contained in paragraphs 1 through 44 of this complaint.
10
           46. At all times relevant to this action, the HAMPTON INN SOUTH HAVEN hotel and the
11

12   business therein, are “places of public accommodation” pursuant to M.C.L. 37.1301(a).

13         47. Defendant committed an unlawful act pursuant to M.C.L. 37.1302(a) by denying Plaintiff
14
     his full and equal enjoyment of its goods, services, accommodations, advantages, facilities, or
15
     privileges at its place of public accommodation because of a disability, as prohibited by M.C.L.
16
     37.1302.
17

18         48. Plaintiff has desired and attempted to enjoy the goods and services at the HAMPTON

19   INN SOUTH HAVEN hotel as a customer. He has been prevented from doing so do to the
20
     existing architectural barriers at the property. As a result, he has been distressed and
21
     inconvenienced thereby, and is entitled to monetary damages for his injuries, as provided for in
22
     M.C.L. 37.1606.
23

24         49. As a result of being denied full access to the property, Plaintiff has suffered, and will

25   continue to suffer, emotional distress, humiliation, anxiety, anger, a loss of enjoyment of life, and
26
     other consequential and incidental damages.
27
           50. Pursuant to Michigan law, plaintiff is entitled to compensatory and punitive damages, and
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 18
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1    attorney fees and costs, in an amount to be determined at trial, but in any event not less than
2
     $25,000.00, as well as issuance of an injunction requiring Defendant to allow full and equal
3
     enjoyment of its goods, services, facilities, privileges, and advantages to disabled persons.
4
            Wherefore, plaintiff prays for relief and damages as hereinafter stated.
5

6    PRAYER:

7           Wherefore, Plaintiff DEREK MORTLAND prays that this court grant relief and damages
8
     as follows:
9
     I.     PRAYER FOR FIRST CAUSE OF ACTION FOR DENIAL OF ACCESS BY A
10          PUBLIC ACCOMMODATION IN VIOLATION OF THE AMERICANS WITH
            DISABILITIES ACT OF 1990 (42 U.S.C. §1 2101, et seq.)
11

12          1.      For injunctive relief, compelling Defendant to make HAMPTON INN SOUTH

13   HAVEN hotel, readily accessible to and usable by individuals with disabilities; and to make
14
     reasonable modifications in policies, practice, eligibility criteria and procedures so as to afford
15
     full access to the goods, services, facilities, privileges, advantages and accommodations being
16
     offered.
17

18          2.      For attorneys’ fees, litigation expenses and costs of suit, if plaintiff is deemed

19   the prevailing party; and
20
            3.      For such other and further relief as the court may deem proper.
21
     I.     PRAYER FOR SECOND CAUSE OF ACTION FOR DENIAL OF FULL AND
22          EQUAL ACCESS IN VIOLATION OF THE MICHIGAN PERSONS WITH
            DISABILITIES CIVIL RIGHTS ACT M.C.L 37.1301, ET SEQ.
23

24          4.      For injunctive relief, compelling Defendant to make HAMPTON INN SOUTH

25   HAVEN HOTEL, readily accessible to and usable by individuals with disabilities, per state law.
26
            5.      General and compensatory damages according to proof;
27
            6.      All damages for each day, from the inception of the filing of this complaint, on
28
     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES - 19
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1    which Defendant have failed to remove barriers which denied plaintiff and other persons with
2
     disabilities full and equal access.
3
              7.     Attorneys’ fees pursuant to Michigan law, if plaintiff is deemed the prevailing
4
     party;
5

6             8.     Punitive damages, pursuant to Michigan law;

7             9.     For all costs of suit;
8
              10.    Prejudgment interest pursuant to Michigan law; and
9
              11.    Such other and further relief as the court may deem just and proper.
10

11                                            Respectfully submitted,
12
                                              BLAKEMORE, MEEKER & BOWLER CO., L.P.A.
13
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